          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 5:05CR207


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
MARCUS L. CHAMBERLAIN.    )
                          )


     THIS MATTER is before the Court on the Defendant’s motion to

withdraw his guilty plea. The Government has responded and the motion

is denied for the reasons stated herein.



                     PROCEDURAL BACKGROUND

     On May 24, 2005, the Defendant and two co-defendants, Bethea and

Montgomery, were indicted in a multi-count bill of indictment with various

charges stemming from investment and mortgage fraud, counterfeit checks

and obstruction of justice. The Defendant was charged with conspiracy to

commit securities fraud, mail and wire fraud; conspiracy to possess with



                                     1


  Case 5:05-cr-00207-KDB-DCK    Document 103    Filed 05/19/06   Page 1 of 15
intent to distribute cocaine and cocaine base1; money laundering;

conspiracy to tamper with witnesses and destroy records2; altering and

destroying records which were the subject of a federal investigation; and

destruction of such records in order to obstruct an investigation. The

Defendant was arrested and made his first appearance on June 6, 2005 at

which time court appointed counsel, Mark Foster (Foster), was provided to

him. Mr. Foster has represented the Defendant continuously since that

time.

        On June 9, 2005, Foster filed a motion for discovery, attended the

Defendant’s arraignment and obtained his release on bond. On June 15,

2005, Foster successfully moved to continue the Defendant’s trial. On

June 23, 2005, Foster filed two ex parte motions for services which were

ultimately granted as amended.

        On June 27, 2005, the indictment was superseded in order to add

Defendant Ferguson and an additional count charging the Defendant with

        1
       The indictment alleged that when investors began to demand
payment, the Defendant bought cocaine and then re-sold it in order to raise
funds to be used as lulling payments.
        2
       The indictment alleged that when the Federal Bureau of
Investigation (FBI) questioned Bethea and the Defendant, they removed
certain business records from their place of business in order to prevent
the FBI from seeing them.
                                       2


  Case 5:05-cr-00207-KDB-DCK      Document 103    Filed 05/19/06   Page 2 of 15
conspiracy to money launder. A forfeiture count was also added which

sought to forfeit $30,000 which allegedly was in an account in the

Defendant’s name.

     On July 27, 2005, the Government superseded the indictment a

second time in order to add a fifth defendant, North. The next day, co-

defendant Ferguson entered into a plea agreement with the Government

which was accepted after a Rule 11 hearing by the Magistrate Judge. On

August 4, 2005, co-defendant Montgomery entered into a plea agreement

with the Government which was also accepted on August 16, 2005.

     On August 12, 2005, the Defendant’s attorney moved to continue the

trial of the case and the motion was granted. The case was re-scheduled

for trial in November 2005. On August 24, 2005, co-defendant North

entered into a plea agreement with the Government which was accepted

on September 13, 2005.

     On October 3, 2005, the Government’s motion to continue the trial

and for a peremptory setting was granted. The new trial date was set as

January 31, 2006. In December, 2005, the Defendant’s attorney obtained

a modification of the conditions of his bond.




                                      3


  Case 5:05-cr-00207-KDB-DCK     Document 103   Filed 05/19/06   Page 3 of 15
     On December 16, 2005, the Government filed its Third Superseding

Bill of Indictment which contained the following charges as to the

Defendant:

Count 1:     18 U.S.C. §371, conspiracy to commit securities fraud, bank

             loan fraud, mail fraud and wire fraud;

Count 2:     21 U.S.C. §846, conspiracy to possess with intent to distribute

             in excess of 5 kilograms of cocaine and 50 grams of cocaine

             base;

Count 37: 18 U.S.C.§§2 & 1957, money laundering, aiding and abetting;

Count 44: 18 U.S.C. §1956(h), conspiracy to money launder;

Count 45: 18 U.S.C. §371, conspiracy to destroy records in order to

             obstruct a federal investigation; and

Count 46: 18 U.S.C. §§2 & 1519, destruction of records in order to

             obstruct a federal investigation, aid and abet.

The forfeiture count remained in the indictment.

     In anticipation of trial, Foster filed two more motions for services,

both of which were granted.

     On January 20, 2006, the Defendant’s remaining co-defendant,

Bethea, filed a plea agreement with the Government. The indictment


                                       4


  Case 5:05-cr-00207-KDB-DCK      Document 103       Filed 05/19/06   Page 4 of 15
alleged that Bethea was the major organizer of the conspiracy and

fraudulent schemes. His guilty plea meant that he would have been a

powerful witness for the Government in the event that the Defendant, the

sole remaining defendant who had not yet entered into a plea agreement,

went to trial.

      On the same day that Bethea signed a plea agreement, the

Defendant also entered into a plea agreement with the Government

pursuant to which he pled guilty to Count 1 of the Third Superseding Bill of

Indictment. The Defendant attended a Rule 11 hearing on January 23,

2006 at which time his guilty plea was accepted by the Magistrate Judge.

On February 6, 2006, Foster successfully obtained a further modification of

the Defendant’s conditions of release. The Defendant has been on pre-

trial release since his arrest.

      On April 3, 2006, the undersigned sentenced co-defendant

Montgomery to 30 months imprisonment with restitution to be paid in the

amount of $1,725,910.60. On that same date, co-defendant Ferguson was

sentenced to 8 months imprisonment with restitution of $120,000.00. And,

co-defendant North was also sentenced on April 3, 2006 to 1 month of

imprisonment with restitution of $18,766.28.


                                      5


  Case 5:05-cr-00207-KDB-DCK      Document 103   Filed 05/19/06   Page 5 of 15
        The Defendant filed this motion to withdraw his guilty plea on May 8,

2006.



                           STANDARD OF REVIEW

        Federal Rule of Criminal Procedure 11(d) provides that a defendant

may withdraw his plea of guilty before the Court accepts the plea “for any

reason or no reason[.]” Fed.R.Crim.P. 11(d)(1). If the defendant seeks to

withdraw the guilty plea after acceptance but before sentencing, he must

             “show a fair and just reason for requesting the withdrawal.” A
             defendant has no “absolute right” to withdraw a guilty plea, and
             the district court has discretion to decide whether a “fair and
             just reason” exists upon which to grant a withdrawal. The most
             important consideration in resolving a motion to withdraw a
             guilty plea is an evaluation of the Rule 11 colloquy at which the
             guilty plea was accepted. Thus, when a district court considers
             the plea withdrawal motion, “‘the inquiry is ordinarily confined to
             whether the underlying plea was both counseled and voluntary’
             ... A voluntary and intelligent plea of guilty ‘is an admission of
             all the elements of a formal criminal charge,’ ... and constitutes
             an admission of all ‘material facts alleged in the charge.’”
             Accordingly, a properly conducted Rule 11 guilty plea colloquy
             leaves a defendant with a very limited basis upon which to have
             his plea withdrawn.

United States v. Bowman, 348 F.3d 408, 413-14 (4th Cir. 2003).

In addition, in this Circuit the trial court must weigh the following factors:

        (1) whether the defendant has offered credible evidence that his plea
        was not knowing or not voluntary; (2) whether defendant has credibly

                                        6


  Case 5:05-cr-00207-KDB-DCK      Document 103     Filed 05/19/06   Page 6 of 15
      asserted his legal innocence; (3) whether there has been a delay
      between the entering of the plea and the filing of the motion; (4)
      whether the defendant has had close assistance of competent
      counsel; (5) whether withdrawal will cause prejudice to the
      government; and (6) whether it will inconvenience the court and
      waste judicial resources.

United States v. Wilson, 81 F.3d 1300, 1306 (4th Cir. 1996).

      In order to show that he did not have “the close assistance of

competent counsel,” Defendant must meet the standard set under

Strickland v. Washington, 466 U.S. 668 (1984); i.e., his counsel’s

performance fell below an objective standard of reasonableness and that

but for that performance, there was a reasonable probability that the

defendant would not have pled guilty but would have insisted on going to

trial. Bowman, 348 F.3d at 416. That is, was counsel’s performance

“reasonable ‘under prevailing professional norms,’ and in light of the

circumstances.” Carter v. Lee, 283 F.3d 240, 249 (4th Cir. 2002).



                                 DISCUSSION

      Defendant claims that because the sentencing court has not yet

accepted the plea of guilty, the first provision of Rule 11 applies; that is, the

defendant may withdraw his guilty plea for any reason or no reason. In

support of his argument, he cites the language of the plea agreement

                                       7


  Case 5:05-cr-00207-KDB-DCK      Document 103     Filed 05/19/06   Page 7 of 15
which provides:

      The defendant is aware that the law provides certain limited rights to
      withdraw a plea of guilty. The defendant has discussed these rights
      with defense counsel and knowingly and expressly waives any right
      to withdraw the plea once the District Court has accepted it.

Plea Agreement, filed January 20, 2006, at ¶16 (emphasis provided).

Based on this language, the Defendant argues that the plea agreement

trumps the provisions of Rule 11 and he may withdraw his plea of guilty for

any reason or no reason until the undersigned accepts the plea at the

sentencing hearing.

      The fact that the Defendant executed a waiver of certain rights in his

plea agreement is of no moment to the interpretation of Rule 11. That rule

clearly provides that after “the court” accepts the plea, a defendant may

withdraw it prior to sentencing only upon a showing of a fair and just

reason. The rule does not define “the court” but Magistrate Judges

routinely, in fact, almost exclusively, accept guilty pleas upon the

conclusion of Rule 11 hearings. United States v. Woodward, 387 F.3d

1329 (11th Cir. 2004). In fact, the Defendant agreed in his plea agreement

that the Magistrate Judge would perform that very function. Plea

Agreement, supra., at¶13. And, during the Rule 11 colloquy the

Defendant specifically acknowledged that he had a right to have the

                                       8


  Case 5:05-cr-00207-KDB-DCK     Document 103    Filed 05/19/06   Page 8 of 15
District Court take his plea but “expressly consent[ed]” to proceed before

the Magistrate Judge. Entry and Acceptance of Guilty Plea (Rule 11

Proceeding), filed January 23, 2006, at ¶¶4-5. Finally, at the conclusion

of the colloquy, the Defendant heard the Magistrate Judge read the

following provision and signed underneath that provision to record his

consent:

      ON ADVICE AND IN THE PRESENCE OF COUNSEL, THE
      DEFENDANT CONSENTS TO THE ACCEPTANCE OF HIS[]
      GUILTY PLEA BY A MAGISTRATE JUDGE.

Id., at p. 5.

Thus, despite any boilerplate language contained within the plea

agreement, the Defendant stood in open court and acknowledged on two

separate occasions that he consented to having the Magistrate Judge

accept his plea of guilty. That consent was followed by the Magistrate

Judge’s statement on the record and in the Rule 11 colloquy form of the

following:

      Based on the representations and answers given by the defendant
      (and counsel) in this proceeding, the Court finds that the defendant’s
      plea is knowing and voluntarily made; and that the defendant
      understands the charges, potential penalties, and consequences of
      his [] plea. Accordingly, the defendant’s plea is hereby accepted.

Id. (emphasis provided).


                                     9


   Case 5:05-cr-00207-KDB-DCK   Document 103    Filed 05/19/06   Page 9 of 15
     “[T]he fourth circuit has clearly established that once a guilty plea is

entered, even before a magistrate judge, a defendant must present

exceptional reasons to support its withdrawal.” United States v. Luisa,

266 F.Supp.2d 440, 446-47 (W.D.N.C. 2003).

     Given that [Defendant] consented to have the magistrate judge
     preside over his Rule 11 and tendered his plea at that time, the
     magistrate judge’s [acceptance of] his plea is binding. See [United
     States v.] Hyde, 520 U.S. 670, 677 (1997) (“Were withdrawal
     automatic in every case where the defendant decided to alter his
     tactics and present his theory of the case to the jury, the guilty plea
     would become a mere gesture, a temporary and meaningless
     formality reversible at the defendant’s whim.”).

United States v. Breedlove, 7 Fed.Appx. 268 (4th Cir. 2001).

The Court therefore rejects the Defendant’s position that because his plea

agreement states his waiver becomes effective only when the district court

accepts his plea then he may withdraw his plea for any or no reason. The

Magistrate Judge accepted his plea and as a result, the Defendant must

show a fair and just reason for withdrawal. See, e.g., United States v.

Graham, 48 Fed.Appx. 458 (4th Cir. 2002); United States v. Gibson, 217

F.3d 841 (4th Cir. 2000); United States v. Ewing, 957 F.2d 115, 119 (4th

Cir. 1992).

     In an attempt to show a “fair and just reason” for withdrawal, the

Defendant makes the broad allegation that his decision to plead guilty was
                                     10


  Case 5:05-cr-00207-KDB-DCK    Document 103    Filed 05/19/06   Page 10 of 15
not intelligently made due to the stress and pressure of “last-minute

negotiations on the eve of trial.” In contrast to this claim months after the

event, at the Rule 11 hearing, the Defendant specifically acknowledged the

following: (1) he wanted the court to accept his guilty plea; (2) he was not

under the influence of any drug or alcohol and his mind was clear; (3) he

had fully reviewed the charges against him with his attorney, understood

them, understood the penalties and knew that the sentence could be more

severe than anticipated; (4) he had a right to plead not guilty and go to trial;

(5) by entering a guilty plea, he waived his right to a trial; (6) he was “in

fact, guilty;” (7) he was satisfied with the services of his attorney to whom

he had told anything relevant to his defense; and (8) the Defendant wanted

to plead guilty. Entry and Acceptance of Guilty Plea, supra. (emphasis

provided). “The most important consideration in resolving a motion to

withdraw a guilty plea is an evaluation of the Rule 11 colloquy at which the

guilty plea was accepted.” Bowman, supra. “[A] defendant’s solemn

declarations in open court affirming [a plea] agreement ... ‘carry a strong

presumption of verity’” because courts must be able to rely on the

defendant’s statements made under oath during a properly conducted Rule

11 plea colloquy.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir.


                                       11


  Case 5:05-cr-00207-KDB-DCK      Document 103     Filed 05/19/06   Page 11 of 15
2005). Statements made during the Rule 11 colloquy constitute a

formidable barrier to proceedings to withdraw a plea. United States v.

DeFusco, 949 F.2d 114 (4th Cir. 1991). “[I]n the absence of extraordinary

circumstances, the truth of sworn statements made during a Rule 11

colloquy is conclusively established[.]” Lemaster, 403 F.3d at 222. From

the record, it is clear that the Defendant’s guilty plea was both counseled

and voluntary. Bowman, supra.

      Defense counsel also makes the conclusory allegation that the

Defendant has now stated that he “is actually innocent of Count One.”3

Motion to Withdraw Guilty Plea, filed May 8, 2006, at 3. A post-plea

conclusory assertion of innocence is not the basis for withdrawal of a guilty

plea. United States v. Laano, 153 F.Supp.2d 205, 208 (E.D.N.Y. 2001).

To allow a motion to withdraw based on such an assertion would require

the district court to completely ignore the written and oral statements of the

Defendant made under oath that were treated as conclusive and truthful at

the time. Id.; accord, Bowman, supra.; United States v. Wilson, 429

F.3d 455, 458 (3rd Cir. 2005); United States v. Hughes, 325 F.2d 789,


      3
       It is noted that the Defendant himself failed to make such an
allegation under oath. United States v. Verduzco-Mendoza, 2006 WL
715772 (5th Cir. 2006).
                                      12


  Case 5:05-cr-00207-KDB-DCK     Document 103    Filed 05/19/06   Page 12 of 15
792 (2nd Cir. 1964).

     The Court therefore finds that the Defendant’s guilty plea was

counseled and voluntary and he has failed to credibly assert his claim of

innocence.

     The record also shows, as set out in the procedural history, that the

Defendant received the close assistance of competent counsel. His

attorney filed numerous motions, obtained more than one continuance and

received permission to hire experts for services in connection with the

case. The evidence against the Defendant was formidable - every one of

his co-defendants stood ready to testify against him. The exposure he

faced if found guilty of one or more of the many counts of which he was

indicted was significantly greater than the exposure he faces as a result of

entering into a plea agreement with the Government. United States v.

Hussey, 2006 WL 994428 (4th Cir. 2006).

     The Defendant entered into the plea agreement on January 20,

2006. The motion to withdraw was filed four months later, after all of his

co-defendants have been sentenced except Bethea. This delay, alone,




                                     13


  Case 5:05-cr-00207-KDB-DCK    Document 103    Filed 05/19/06   Page 13 of 15
warrants denial of the motion.4 See, e.g., United States v. Verduzco-

Mendoza, supra.; United States v. Proctor, 2006 WL 1144558 (4th Cir.

2006); United States v. Brehm, 442 F.3d 1291 (11th Cir. 2006); United

States v. Valdez, 362 F.3d 903, 913 (6th Cir. 2004); United States v.

Clark, 931 F.2d 292, 294-95 (5th Cir. 1991).

      Finally, both the judicial system and the Government have expended

significant resources and time in the Defendant’s case. It is most unusual

in this Division of the Western District of North Carolina for a case to be

continued as often as this one was continued. See, e.g., United States v.

Brehm, supra. Federal tax dollars were expended not only for the court-

appointed counsel but for the various experts and services sought by the

Defendant. Id. And, to now place this matter back on a trial calendar

would not only increase those expenditures but would prejudice the

Government which months ago concluded its investigation and trial


      4
        A somewhat vague allegation is made that the delay was justified by
the fact that at some undisclosed point after the guilty plea, the Defendant
learned that he “likely faces federal prosecution in the District of South
Carolina for essentially the same drug conspiracy conduct charged in
Count Two, a count the government agreed to dismiss pursuant to the plea
agreement.” Motion, at 3 (emphasis provided). This claim is hardly
definitive. Moreover, it overlooks the obvious double jeopardy issues
raised by the dismissal with prejudice of such charges, if, in fact, the same
conspiracy and the same conduct is involved.
                                      14


  Case 5:05-cr-00207-KDB-DCK     Document 103    Filed 05/19/06   Page 14 of 15
preparation. Id.

     Having considered all the factors involved, the Court finds that the

motion should be denied.



                                 ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

withdraw his plea of guilty is hereby DENIED.

                                      Signed: May 19, 2006




                                    15


  Case 5:05-cr-00207-KDB-DCK   Document 103     Filed 05/19/06   Page 15 of 15
